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   19                            UNITED STATES DISTRICT COURT
                                CENTRAL DISTRICT OF CALIFORNIA
   20
        VERNON UNSWORTH,                               Case No. 2:18-cv-08048-SVW (JCx)
   21
                                     Plaintiff         SECOND JOINT STIPULATION ON
   22                                                  PLAINTIFF’S MOTION TO COMPEL
               v.
   23                                                  Hearing Date:          Nov. 12, 2019
        ELON MUSK,                                     Time:                  9:30 a.m.
   24                                                  Courtroom:             750
                                     Defendant.        Discovery Cutoff:      Sept. 13, 2019
   25                                                  Pretrial Conference:   Nov. 25, 2019
   26                                                  Trial Date:            Dec. 3, 2019

   27

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    1        PLEASE TAKE NOTICE THAT on November 12, 2019, at 9:30 a.m. in
    2 Courtroom 750 of the above-titled Court, Plaintiff Vernon Unsworth will move this

    3 Court for an order granting Plaintiff’s Motion to Compel pursuant to Fed. R. Civ. P.

    4 37 and Local Rule 37. Plaintiff’s Motion to Compel is made pursuant to this Notice

    5 of Motion, the parties’ Second Joint Stipulation on Plaintiff’s Motion to Compel and

    6 supporting declarations, Plaintiff’s forthcoming supplemental memorandum of law

    7 and proposed order pursuant to Local Rule 37-2.3, and any such additional argument

    8 or materials as may be submitted to the Court before the time of the decision in this

    9 matter.

   10

   11        DATED: October 22, 2019                Respectfully submitted,
   12                                               L. LIN WOOD, P.C.
   13                                               By: /s/L. Lin Wood
   14                                               L. Lin Wood

   15                                        Attorneys for Plaintiff Vernon Unsworth
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    1        Pursuant to Federal Rule of Civil Procedure 37, and Rule 37 of the Local Rules
    2 of Practice for the United States District Court for the Central District of California,

    3 Plaintiff Vernon Unsworth (“Unsworth”) and Defendant Elon Musk (“Musk”) submit

    4 this Joint Stipulation in connection with Unsworth’s Motion to Compel discovery

    5 responses from Musk in this defamation lawsuit. As required by L.R. 37-1, the parties

    6 held multiple telephonic and electronic meet and confer attempts to resolve this issue

    7 prior to seeking the Court’s intervention. (Declaration of G. Taylor Wilson (“WD”)

    8 at ¶¶ 2-3, Exs. A, B, C.)

    9 I.     PRELIMINARY STATEMENTS.
   10        A.     Unsworth’s Preliminary Statement
   11        This discovery dispute arises from (1) Musk wiping his cell phone in or about
   12 May 2019, while this litigation was ongoing, (2) his counsel’s initial representation

   13 during an August 9, 2019, meet and confer that no record of his cell phone existed,

   14 (3) Musk’s subsequent testimony in August 2019 that his phone was backed up to

   15 iCloud, (4) his refusal thereafter to search his iCloud until October 1, 2019—more

   16 than two weeks after the discovery deadline—despite previous claims that he searched

   17 it and no responsive information existed, and (5) Musk’s use of unreasonably narrow

   18 search terms to finally search his phone on October 1, only after he had been served

   19 with a stipulation on this motion to compel. Musk only searched his iCloud backup

   20 after Unsworth served him with a stipulation for a motion to compel on September

   21 25, (WD ¶ 13, Ex. H, I), and after third-parties disclosed relevant and responsive text

   22 messages with Musk on October 1—which gave lie to the notion that no responsive

   23 texts existed, (WD ¶ 14, Exs. J, K). On October 2, Musk provided an iCloud Search

   24 Certification (“Certification”) describing the inadequate search efforts that failed to

   25 reveal any documents. (WD ¶¶ 15-16, Exs. L-N). The Certification does not claim his

   26 iCloud is devoid of responsive documents and communications; rather, the search was
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    1 transparently designed to avoid uncovering text messages that indisputably exist.1 To

    2 this day, Musk has not produced a single text message he sent or received. (WD ¶ 4).

    3         Unsworth asks the Court to compel Musk to search his iCloud and other phone
    4 backups—both of which also indisputably exist according to the Certification (WD

    5 Ex. N)—and produce information responsive to Unsworth’s discovery requests. The

    6 search should include both (1) an eyes-on review of all of Musk’s text messages with

    7 all contacts, and (2) a keyword search of said text messages for this period using the

    8 terms set forth below; and, as Musk himself concedes, documents from July through

    9 September of 2018 should be searched. (See id. (searching same period)).

   10         For more than two months, Unsworth’s counsel has explicitly demanded that
   11 Musk produce responsive documents from his phone, including text messages. (WD

   12 ¶¶ 3-9; Exs. A, B, C). In return, Musk has given false and shifting excuses. In an

   13 August 9, 2019, meet and confer, Musk’s counsel said Musk changed phones and that

   14 no record of his prior phone was available. (WD ¶ 5). This defies reason, as Musk and

   15 his companies are involved in lawsuits imposing litigation holds. (WD Ex. E).

   16         Then Musk testified on August 22 that he changed phones “three months ago”
   17 but that it may have been backed-up on iCloud. (WD ¶ 6, Ex. D). Since Musk’s

   18 testimony, Unsworth has repeatedly demanded that Musk search his phone or backups

   19 (including iCloud) and produce responsive documents. (WD ¶ 7, Exs. A, B, C). On

   20 September 23, Musk eventually, and nonsensically, stated that the record custodian

   21 affidavits attached to his companies’ third-party document productions somehow

   22 show that backups of his phone were searched and revealed no responsive documents.

   23 (WD ¶ 7, Ex. A p. 2) (stating the affidavits “are more than sufficient and we have

   24 confirmed that there is nothing further”)). Yet, at the very end of discovery, Tesla

   25 produced an email from Musk describing a text from his girlfriend about negative

   26 press about the tube—which was clearly responsive and should have been produced
   27
        1
         Musk has a pattern of withholding his text messages, and was recently ordered to
   28
        produce his texts in another matter. See https://dailym.ai/2ILpApO.
                                                 2
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    1 earlier. (WD ¶ 11, Ex. C pp. 1, 6). Unsworth brought this email to Musk’s attention,

    2 and again Musk failed to produce any of his text messages. (WD ¶ 11, Ex. C. p.1, 6).

    3        Finally, on October 1, despite Musk consistently denying that responsive texts
    4 existed, third-party deponents Steve Davis and Dave Arnold produced text exchanges

    5 with Musk about the tube and defamatory emails to Ryan Mac—although they did so

    6 minutes before or during their depositions. (WD ¶ 14, Exs. J, K). Their texts with

    7 Musk are indisputably responsive and provide incontrovertible evidence that Musk—

    8 who did not himself produce any of these texts—has actively hidden evidence during

    9 discovery. (See WD 14, Ex. O (RFPs 1, 23, 24, 63, 64)).

   10        Despite Musk previously stating that his iCloud had been searched (including
   11 as of September 23, 2019), on October 2, 2019, and only after Unsworth sent Musk a

   12 stipulation for a motion to compel the phone documents, Musk provided the

   13 Certification that he searched his iCloud, which did not yield a single document. (WD

   14 Exs. L, N). The Certification admits that his phones are regularly preserved through

   15 imaging and iCloud, and that iCloud was searched for the first time on October 1,

   16 weeks after discovery ended. (WD Ex. N). That searched used grossly narrow

   17 keywords designed to avoid collecting responsive texts. (Id.). The Certification does

   18 not state that the phone backups are actually devoid of documents responsive to

   19 Unsworth’s pending discovery requests. (Id.). The keywords used to search Musk’s

   20 iCloud would not uncover the text messages between Musk and Davis or Arnold, and

   21 do not include obvious standalone terms like Thai, Thailand, cave, rescue, Mac, or

   22 BuzzFeed. (Id.). In short, Musk crafted keywords that are grossly incomplete and

   23 instead appear to purposefully avoid uncovering texts that indisputably exist.

   24        Musk’s statement in his portion of the previous stipulation for a motion to
   25 compel made no attempt to explain Musk’s false and shifting explanations about

   26 preserving his phone or his failure to search his phone until October 1, 2019. (WD
   27 Ex. M). Instead, Musk decreed that he “submitted a detailed declaration on this issue,

   28 which resolved it.” (Id. at 1 n.1) Musk cannot dispute that Unsworth’s requests related

                                                 3
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    1 to text messages and iCloud are calculated to lead to the discovery of admissible

    2 evidence on falsity, negligence, and actual malice.        Nor can Musk argue that
    3 Unsworth has been dilatory in seeking the phone information, particularly given

    4 Musk’s false statements about his phone being destroyed and their being no backup.

    5         Musk will not “resolve it” until he is forced to produce responsive documents
    6 from his phone, iCloud, or its other backups. Unsworth respectfully requests that the

    7 Court order Musk to comply with discovery and produce documents after an

    8 exhaustive search of the phone data that Musk has so doggedly attempted to hide.

    9         B.     Musk’s Preliminary Statement
   10         Unsworth’s motion to compel is misleading, unnecessary, and in violation of
   11 the Local Rules. This is a manufactured dispute. Musk has agreed to every search

   12 of documents Unsworth has ever requested, including this one. Unsworth’s case is

   13 failing, and he is grasping at non-existent straws. The motion should be denied, and

   14 Unsworth and his counsel should be sanctioned.

   15         First, Unsworth’s motion asserts that Musk has given “false and shifting”
   16 excuses about his text messages and that he has “hidden evidence.” This is blatantly

   17 false. Musk has been clear, open, and honest from the beginning. He changes his

   18 phone frequently. (Musk Tr. 313: 10 – 315: 18) (Lifrak Decl. Ex. A).2 The content

   19 of his phone is backed up on the iCloud. (Id.). Musk searched that data in July

   20 2019, which produced no results. (Lifrak Decl. ¶4). When Unsworth complained

   21 and requested an identification of the search terms, Musk searched again in October

   22 2019, disclosed the search terms that had been used, and he also provided a

   23

   24

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              Musk’s counsel never stated that “no record of [Musk’s] cell phone existed,”
   27 as Unsworth claims. All Musk’s counsel stated was that Musk changes his phone

   28 frequently.

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    1 declaration attesting to the search. (Lifrak Decl. Ex. B).3 In his portion of the joint

    2 stipulation, Unsworth asks Musk to search additional terms. Musk has agreed to do

    3 exactly that. (Lifrak Decl. Ex. C).

    4         Second, the motion is unnecessary. It requests that Musk use additional
    5 search terms on his texts. Musk has agreed to do so. (Id.).

    6         Third, the motion is in violation of the Local Rules. Unsworth’s counsel
    7 simply did not “confer in a good faith effort to eliminate the necessity for hearing

    8 the motion.” (L.R. 37-1). In fact, the first time Unsworth’s counsel provided the

    9 requested new search terms was in his portion of this joint stipulation. This is in

   10 violation of the Local Rules because:

   11     • Unsworth’s counsel did not send a letter requesting a meet and confer
   12         conference “specify[ing[ the terms of the discovery order sought.” (L.R. 37-
   13         1).
   14     • Unsworth’s counsel did not participate in an in-person or telephonic
   15         conference prior to transmitting his portion of the joint stipulation in an effort
   16         to avoid motion practice. (L.R. 37-1).
   17         Unsworth’s counsel did not provide any letter or attempt to meet and confer
   18 in any way regarding the newly-requested search terms. This is the opposite of

   19 meeting and conferring in good faith, and it directly violates the Local Rules.

   20 Unsworth and his counsel should be sanctioned as a result. See L.R. 37-4 (“failure

   21 of any counsel to comply with or cooperate in the foregoing procedures may result

   22 in the imposition of sanctions.”). After Musk provided a declaration about the

   23 October search, Unsworth’s counsel said nothing until emailing his portion of this

   24 joint stipulation. Counsel was clearly frustrated that the tactic of shifting focus

   25

   26
          3
              The declaration does not say that Musk’s iCloud was “searched for the first
   27 time on October 1,” as Unsworth claims. In fact, Musk’s iCloud was searched in

   28 July and again in October, at Unsworth’s request. (Lifrak Decl. ¶¶ 4-5).

                                                   5
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    1 away from his failing case and onto some invented discovery issue would bear fruit,

    2 and it didn’t, hence the frivolous application to the Court.4

    3 II.       DISCOVERY DISPUTES AT ISSUE
    4           A.   Unsworth’s Document Requests and Musk’s Responses
    5           REQUEST       FOR     PRODUCTION           NO.     1:   All   documents      and
    6 communications concerning or relating to the Defamatory Statements.

    7                Musk’s Responses and Objections to Request for Production No. 1:
    8 Defendant incorporates his General Objections herein. Defendant further objects to

    9 Request No. 1 on the grounds that it seeks information that is outside of his

   10 possession, custody, or control, or that is equally available to Plaintiff. Defendant

   11 further objects to Request No. 1 as argumentative in that it requires the adoption of

   12 improper assumptions including that any statement referenced in this Request was

   13 defamatory. Defendant further objects to Request No. 1 to the extent that it seeks to

   14

   15       4
               Unsworth’s own conduct in this case has been egregious, as he has failed to
        produce relevant documents for months. Unsworth’s first production contained fewer
   16
        than 500 pages of self-serving documents, which were self-selected by
   17   Unsworth. (Lifrak Decl. ¶ 7). After counsel for Musk identified materials that were
        clearly missing, Unsworth produced another 3,000 pages on the eve of his
   18
        deposition. (Lifrak Decl. ¶ 8). But there were still missing documents. Only after
   19   discovery had closed, and months after his deposition did Unsworth finally produce
        approximately 300 pages of additional materials that materially harm his case. (Lifrak
   20
        Decl. ¶9). For example, the 82-page text conversation between Unsworth and Thanet
   21   Natisri, which contained journal-like details of Unsworth’s activities during and after
        the rescue, including his criticisms of the divers who risked their lives, was not
   22
        produced until September 23. (Supplemental Declaration of Michael Lifrak in
   23   support of Elon Musk’s Motion for Summary Judgment, DKT 85, Ex. 28). Unsworth
        also withheld all communications with his agent (who he claimed in his deposition
   24
        did not exist) and communications that depict Unsworth’s attempt to monetize his
   25   role in the rescue, until October 4, after Musk had threatened to move to compel the
        information. (Lifrak Decl., Exs. D, E). Last, but not least, Unsworth has continued to
   26
        deny that responsive communications between himself and his partner, Tik, exist. It
   27   defies credulity that a couple who spends significant periods of time apart has never
        discussed the cave rescue, or any of the topics related to this litigation, via some form
   28
        of messaging.
                                                   6
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    1 elicit information subject to and protected by the attorney-client privilege, the attorney

    2 work product doctrine, the joint defense privilege, the common interest doctrine,

    3 and/or any other applicable privilege or immunity. Defendant further objects to

    4 Request No. 1 on the grounds that the Request is overly broad and unduly burdensome

    5 and seeks documents that are not proportional to the needs of the case. Subject to his

    6 General and Specific Objections, Defendant responds as follows: To the extent that

    7 such documents exist, are within Defendant’s possession, custody, or control, and can

    8 be located after a reasonably diligent inquiry, Defendant will produce relevant, non-

    9 privileged documents responsive to this request, as Defendant understands it.

   10 (WD Ex. O).

   11         REQUEST        FOR      PRODUCTION           NO.     7:   All   documents      and
   12 communications concerning or relating to any effort by you or your representative to

   13 verify the truthfulness or accuracy of the Defamatory Statements, whether before or

   14 after the Defamatory Statements were published.

   15               Musk’s Responses and Objections to Request for Production No. 7:
   16 Defendant incorporates his General Objections herein. Defendant further objects to

   17 Request No. 7 on the grounds that it seeks information that is outside of his

   18 possession, custody, or control. Defendant further objects to Request No. 7 on the

   19 grounds that it is vague and ambiguous with regard to the terms “representative,”

   20 “verify,” “accuracy,” and “published.” Defendant further objects to Request No. 7 as

   21 argumentative in that it requires the adoption of improper assumptions including that

   22 any statement referenced in this Request was defamatory. Defendant further objects

   23 to Request No. 7 to the extent that it seeks to elicit information subject to and protected

   24 by the attorney-client privilege, the attorney work product doctrine, the joint defense

   25 privilege, the common interest doctrine, and/or any other applicable privilege or

   26 immunity. Defendant further objects to Request No. 7 on the grounds that the Request
   27 is overly broad and unduly burdensome and seeks documents that are not proportional

   28 to the needs of the case.

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    1               Subject to his General and Specific Objections, Defendant responds as
    2 follows:

    3               To the extent that such documents exist, are within Defendant’s
    4 possession, custody, or control, and can be located after a reasonably diligent inquiry,

    5 Defendant will produce relevant, non-privileged documents responsive to this

    6 request, as Defendant understands it.

    7 (Id.).

    8          REQUEST       FOR     PRODUCTION           NO.    23:   All    documents     and
    9 communications concerning or relating to your emails with Buzzfeed referenced in

   10 the Complaint, including the reason(s) you decided to send the emails.

   11               Musk’s Responses and Objections to Request for Production No. 23:
   12 Defendant incorporates his General Objections herein. Defendant further objects to

   13 Request No. 23 on the grounds that it seeks information that is outside of his

   14 possession, custody, or control. Defendant further objects to Request No. 23 to the

   15 extent that it seeks to elicit information subject to and protected by the attorney-client

   16 privilege, the attorney work product doctrine, the joint defense privilege, the common

   17 interest doctrine, and/or any other applicable privilege or immunity. Defendant further

   18 objects to Request No. 23 on the grounds that the Request is overly broad and unduly

   19 burdensome and seeks documents that are not proportional to the needs of the case.

   20 Subject to his General and Specific Objections, Defendant responds as follows: To

   21 the extent that such documents exist, are within Defendant’s possession, custody, or

   22 control, and can be located after a reasonably diligent inquiry, Defendant will produce

   23 relevant, non-privileged documents responsive to this request, as Defendant

   24 understands it.

   25 (Id.).

   26          REQUEST       FOR     PRODUCTION           NO.    24:   All    documents     and
   27 communications concerning or relating to any public relations analysis or strategy

   28 pertaining to the Defamatory Statements.

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    1               Musk’s Responses and Objections to Request for Production No. 24:
    2 Defendant incorporates his General Objections herein. Defendant further objects to

    3 Request No. 24 on the grounds that it seeks information that is outside of his

    4 possession, custody, or control. Defendant further objects to Request No. 24 on the

    5 grounds that it is vague and ambiguous with regard to the terms “public relations

    6 analysis or strategy.” Defendant further objects to Request No. 24 as argumentative

    7 in that it requires the adoption of improper assumptions including that any statement

    8 referenced in this Request was defamatory. Defendant further objects to Request No.

    9 24 to the extent that it seeks to elicit information subject to and protected by the

   10 attorney-client privilege, the attorney work product doctrine, the joint defense

   11 privilege, the common interest doctrine, and/or any other applicable privilege or

   12 immunity. Defendant further objects to Request No. 24 on the grounds that the

   13 Request is overly broad and unduly burdensome and seeks documents that are not

   14 proportional to the needs of the case. Subject to his General and Specific Objections,

   15 Defendant responds as follows: To the extent that such documents exist, are within

   16 Defendant’s possession, custody, or control, and can be located after a reasonably

   17 diligent inquiry, Defendant will produce relevant, non-privileged documents

   18 responsive to this request, as Defendant understands it.

   19 (Id.).

   20          REQUEST       FOR      PRODUCTION          NO.     63:   All   documents      and
   21 communications concerning or relating to the Cave Rescue.

   22               Musk’s Response to Request for Production No. 63: Defendant
   23 incorporates his General Objections herein. Defendant further objects to Request No.

   24 63 on the grounds that it seeks information that is outside of his possession, custody,

   25 or control, or that is equally available to Plaintiff. Defendant further objects to Request

   26 No. 63 to the extent that it is redundant to requests for production propounded in
   27 Plaintiff’s First Set of Requests for Production to Defendant Elon Musk. Defendant

   28 further objects to Request No. 63 to the extent that it seeks to elicit information subject

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    1 to and protected by the attorney-client privilege, the attorney work product doctrine,

    2 the joint defense privilege, the common interest doctrine, and/or any other applicable

    3 privilege or immunity. Defendant further objects to Request No. 63 on the grounds

    4 that the Request is overly broad and unduly burdensome and seeks documents that

    5 are not proportional to the needs of the case. Subject to his General and Specific

    6 Objections, Defendant responds as follows: To the extent any such documents or

    7 communications exist, Defendant has already produced all responsive materials in his

    8 possession, custody, or control based on a reasonable search and diligent inquiry.

    9 (Id.).

   10          REQUEST       FOR     PRODUCTION           NO.     64:   All   documents      and
   11 communications concerning or relating to your role in designing, creating, and/or

   12 building the Tube.

   13               Musk’s Response to Request for Production No. 64: Defendant
   14 incorporates his General Objections herein. Defendant further objects to Request No.

   15 64 on the grounds that it seeks information that is outside of his possession, custody,

   16 or control, or that is equally available to Plaintiff. Defendant further objects to Request

   17 No. 64 to the extent that it is redundant to requests for production propounded in

   18 Plaintiff’s First Set of Requests for Production to Defendant Elon Musk. Defendant

   19 further objects to Request No. 64 on the grounds that it is vague and ambiguous with

   20 regard to the terms “designing,” “creating,” and “building.” Defendant further objects

   21 to Request No. 64 on the grounds that it seeks to elicit information subject to and

   22 protected by the attorney-client privilege, the attorney work product doctrine, the joint

   23 defense privilege, the common interest doctrine, and/or any other applicable privilege

   24 or immunity. Defendant further objects to Request No. 64 on the grounds that the

   25 Request is overly broad and unduly burdensome and seeks documents that are not

   26 proportional to the needs of the case. Subject to his General and Specific Objections,
   27 Defendant responds as follows: To the extent any such documents or communications

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    1 exist, Defendant has already produced all responsive materials in his possession,

    2 custody, or control based on a reasonable search and diligent inquiry.

    3 (Id.).

    4          B.    Unsworth’s Position
    5          Musk respectfully requests that this Court issue an order pursuant to Federal
    6 Rule of Civil Procedure 37 compelling Musk to search his cell phone and its backups,

    7 (including on iCloud) and produce responsive documents.

    8          Musk has not disclosed any information from his phone in response to any of
    9 Unsworth’s requests for production of documents—which is to say that each of

   10 Musk’s responses to Unsworth’s seventy-four requests for production of documents

   11 may be incomplete. Nevertheless, Unsworth listed six of his requests above to show

   12 that Musk is hiding documents and should have responded to the requests by

   13 disclosing his texts with Davis and Arnold, and more. Musk has no excuse for failing

   14 to disclose responsive text messages.           Instead, the day after the third-party
   15 productions—when it became impossible to argue that Musk did not have responsive

   16 text messages, and Unsworth was on the eve of submitting his first stipulation for a

   17 motion to compel—Musk created the Certification that describes a search of his

   18 iCloud that was crafted to purposefully avoid uncovering responsive text messages.

   19 As described above and below, Musk has gone to great lengths to hide the information

   20 on his phone or its backups. And it appears that nothing short of a court order will

   21 make him comply with his discovery obligations.

   22          First, on August 9, 2019, Musk’s counsel falsely stated Musk changed phones
   23 and that no record of his prior phone was available. (WD ¶ 5).

   24          Second, in his deposition on August 22, 2019, Musk testified that he destroyed
   25 his cell phone only a few (“maybe … three”) months ago, (WD ¶ 6, Ex. D (313:20-

   26 314:13)), which would have been after this Court denied his Motion to Dismiss and
   27 discovery was starting, (ECF No. 34 (dated April 29, 2019)). Indeed, Musk is under

   28 various litigation holds in several lawsuits, (WD ¶ 9, Ex. F (31:1-18), and it strains

                                                 11
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    1 credulity that Musk’s phone would not be backed up on iCloud and through other

    2 means.

    3         Third, Musk also testified that his phone records are stored electronically and
    4 may have been backed up to his iCloud, (WD ¶ 6, Ex. D (315:8-18)). And Birchall

    5 testified on September 10, 2019, that there may have been texts between him and

    6 Musk regarding the Howard investigation, although he was not sure if that was the

    7 case, (WD ¶ 8 (Birchall Depo. 10:5-10:22)). At this point, Musk’s team should ceded

    8 to Unsworth’s request that they search Musk’s iCloud and produce responsive

    9 documents.

   10         Fourth, instead of actually searching and producing Musk’s responsive text
   11 messages, his lawyers vaguely stated that there was no responsive information; and,

   12 that somehow, Tesla, SpaceX, and The Boring Company’s rote records custodian

   13 affidavits were sufficient to confirm that there was no responsive information. (See,

   14 e.g., WD ¶ 7, Ex. A at 2). Indeed, Musk’s counsel stated repeatedly prior to the

   15 October 1 Certification, among other things: that “[t]here is nothing further on the

   16 cloud”; that “[t]he declarations5 provided to you are more than sufficient and we have

   17 confirmed there is nothing further”; that “the IT Professional who confirmed you have

   18 everything signed a declaration”; and that Tesla, SpaceX, and The Boring Company’s

   19 production “included a declaration and the SpaceX tech team who signed that

   20 declaration confirmed what I already stated, which is implicit in their declaration.”

   21 (WD ¶ 7, Exs. A (pp. 2-3), B (p. 3)). Yet, Tesla, SpaceX, and The Boring Company’s

   22 affidavits were merely form records custodian certifications by third-parties; there

   23 was no indication that they possessed, controlled, or searched Musk’s iCloud or phone

   24 images, and there was no indication that they even knew that Musk had destroyed his

   25

   26
   27     5
           Musk’s counsel consistently and incorrectly refers to notarized records
   28 affidavits as declarations.

                                                 12
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    1 cell phone and that his iCloud and images needed to be searched. (WD Ex. G).6

    2          Fifth , after conferring with Musk for more than a month and a half, Unsworth
    3 served Musk with a stipulation for a motion to compel, including after Unsworth

    4 uncovered a document in Tesla’s end-of-discovery production in which Musk

    5 described a text form his girlfriend about press coverage of the tube. (WD ¶¶ 11-12,

    6 Exs. C (pp. 1, 6), H, I).

    7          Sixth, after Unsworth sent over the stipulation for the motion, third-party
    8 witnesses started showing up at their depositions with relevant text messages between

    9 them and Musk that are indisputably responsive to Unsworth’s requests for

   10 production of documents, including numbers 1, 23, 24, 63, and 64. (WD ¶ 14, Exs.

   11 J, K, P).

   12          Sixth, after serving the stipulation for the motion, Musk finally confirmed on
   13 October 2, and for the first time, that his counsel’s August 9, 2019, representations

   14 were false; and that his phone is backed up through iCloud and images. (WD Ex. N).

   15 Through the Certification, Musk also feigned an attempt to search his phone. But the

   16 search was calculated to avoid discovering responsive information and, indeed, failed

   17 to uncover any of the Musk text messages the third parties produced at their

   18 depositions. (See id.).

   19          The Certification does not purport to have searched Musk’s iCloud for
   20 responsive documents or correspondence, but merely to have employed absurdly

   21
           6
             In fact, The Boring Company’s records custodian affidavit was signed by Birchall
   22
        as a representative of “Foundation Security,” (WD Ex. G p. 1), yet Musk’s counsel
   23   represented in meet and confer correspondence that “the SpaceX tech team who
        signed that declaration” confirmed that Musk’s iCloud has been searched for
   24
        responsive documents, (WD Ex. B p. 3). The records custodian affidavit signed by
   25   Birchall, not the SpaceX tech team, says absolutely nothing about iCloud, and appears
        to have been signed by Birchall on behalf of a security company called Foundation
   26
        Security. (WD Ex. G p. 1). Before Musk sent The Boring Company’s records
   27   custodian affidavit, Musk never disclosed the existence of “Foundation Security”—
        which appears to be a detective company for which Birchall (who spearheaded
   28
        Musk’s investigation into Unsworth) serves as the CEO. (WD ¶ 10).
                                                 13
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    1 narrow search terms. (See id.). Nor does it purport to have searched any of the

    2 preservation images of Musk’s phone. For instance, Musk’s iCloud was searched only

    3 for “James Howard” rather than “Howard” or “investigator” or “Jupiter,”

    4 independently.     (See id.). To uncover a communication related to Howard’s
    5 investigation, the text must have Howard’s full name or all three of the words

    6 “Jupiter,” “investig!,” and “Unsworth” in one single text.        (See id.). To return
    7 responsive information about Musk’s tube and Thailand efforts, a text message would

    8 have to satisfy the following incredibly defined parameters: “(PR or publicity or

    9 publish! or market! or press) and (‘rescue submarine’ or submarine or ‘rescue capsule’

   10 or capsule or ‘rescue tube’ or ‘Thailand’ or rescue).” (See id.). Obvious terms such

   11 as “Mac,” “Thai,” “diver!” and “cave” are nowhere to be found. (See id.).

   12        Given Musk’s prior representations that he had destroyed his cell phone, his
   13 subsequent refusal to search his iCloud, his entirely-too-late search of his iCloud, and

   14 his new attempt to hide behind narrow search terms calculated to avoid revealing text

   15 messages regarding Unsworth, the investigation(s) into Unsworth, and Musk’s efforts

   16 in Thailand (which he has repeatedly made an issue in this case), Plaintiff seeks a

   17 court order requiring Musk to produce documents responsive to any and all of

   18 Unsworth’s seventy-four requests for production of documents that are revealed by

   19 searching his iCloud and other relevant images of his phone for the period between

   20 July 1, 2018, and September 30, 2018, using both (1) an eyes-on, text-by-text review

   21 for all correspondence with all contacts, and (2) a search using the following

   22 keywords:

   23   1. Unsworth!          2. Howard!           3. Higgins!           4. Pattaya
   24   5. Investig!          6. Thai!             7. Pod                8. Tube
   25   9. Sub!               10.Rescue            11.Cave!              12.Dive!
   26   13.Chiang             14.Rai               15.BuzzFeed           16.Mac
   27   17.Stanton            18.Tham              19.Luang              20.Rowena
   28

                                                 14
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    1   21.Consul             22.Prime             23.Minister           24.Bangkok
    2   25.Off w/3 record     26.Coach             27.Soccer             28.Apolog!
    3   29.Tweet              30.Twitter           31.Brickhouse         32.Lin w/3 Wood
    4

    5        This is necessary to ensure fairness and a complete factual record. In this
    6 litigation and in his motion for summary judgment, Musk has attempted to defend his

    7 conduct on the basis of actual malice by claiming that certain (false) information was

    8 relayed to him orally, (see, e.g., ECF No. 58 at 7-8)—although it is now undisputed

    9 that nobody at any time told Musk that Unsworth was a pedophile, child rapist, or had

   10 a child bride, (see, e.g., ECF No. 75 at 9-10). As a result, following Musk’s and

   11 Birchall’s depositions, Unsworth has repeatedly asked that Musk search his iCloud.

   12 (WD ¶ 7, Exs. A (pp. 1-3, 5, 13, 19, 26-28), B (pp. 1, 3), and C (pp. 1, 6)). Throughout

   13 the discovery period, Musk responded with blanket denials that correspondence exists

   14 on his iCloud, while refusing to affirmatively state that Musk’s iCloud had been

   15 searched, when it was searched, or by whom. (WD ¶ 7, Exs. A (pp. 1-3, 5, 13, 19, 26-

   16 28), B (pp. 1, 3), and C (pp. 1, 6)). Now that discovery has expired, Musk has provided

   17 the Certification, which appears calculated to avoid production of relevant materials

   18 and likely an effort to avoid sanctions.

   19        Musk will undoubtedly cast stones by arguing that Unsworth himself did not
   20 produce text messages with his significant other, Tik, and that Unsworth did not

   21 produce media from his Line chats. Tik testified that they were consistently together

   22 during the relevant period, and thus were not texting about the rescue or Musk’s

   23 attacks. (WD Ex. Q (59:15-18, 61:3-62:5)). When queried as to any subject matter

   24 relevant to this lawsuit, Tik specifically testified that no relevant electronic

   25 communications exist, (id. (59:15-18)), despite Musk’s misrepresentative claims to

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   27

   28

                                                 15
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    1 the contrary, (WD Ex. A (p. 18); see also Ex. G (p. 3)).7 As for the Line chats, just

    2 like Musk did with WhatsApp chats, Unsworth produced the text of the chats, but faced

    3 technical difficulties producing the chats in a manner that embedded the emojis,

    4 photos, and videos.8 (WD Ex. G (pp. 4-5)). None of this provides a basis for Musk to

    5 hide relevant text messages that indisputably exist.

    6         Thus, in light of Musk’s prior representations that his cell phone was wiped
    7 clean earlier this year while litigation was pending, and the subsequent revelation that

    8 it was backed up through iCloud and an image, Unsworth asks the Court to compel

    9 Musk to search his iCloud and phone images and then produce the responsive

   10 documents and correspondence, as requested herein.9

   11

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   20   7
          Indeed, Musk’s counsel disingenuously states he was told that Unsworth and his
   21   significant other “never communicated electronically,” despite clear evidence to the
        contrary.
   22   8
          In fact, unlike Musk who produced no such images, Unsworth produced the
   23   images associated with his WhatsApp chats. (WD Ex. G (pp. 4-5)).
        9
          Rather than seeking a discovery master and/or an order compelling a forensic image
   24
        of Musk’s electronic storage, which Unsworth may well be entitled to in light of
   25   Musk’s destruction of his cell phone, Unsworth has sought to compromise on this
        issue merely by requiring a written statement of the efforts undertaken to search for
   26
        Musk’s personal electronic records. Further, Unsworth may choose to move for
   27   sanctions in the form of either striking Musk’s Answer or for an adverse inference at
        trial in light of Musk’s failure to even search his phone for responsive records until
   28
        October 1, 2019, three weeks after discovery closed and two months before trial.
                                                 16
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   19
      Pursuant
       Pursuantto L.R. 5-4.3.4(a)(2)(i), the
   20
      filer hereby attests that all signatories
   21 listed, and on whose behalf this filing is
      submitted, concur in the filing’s content
   22
      and have authorized the filing.
   23
        /s/L. Lin Wood
   24

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